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 7    Attorneys for Plaintiff
 8                         IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE DISTRICT OF ARIZONA
10
      United States of America,                             CR-15-01723-TUC-RCC (DTF)
11
                              Plaintiff,
12
                 vs.                                        GOVERNMENT’S NOTICE
13                                                           REGARDING VERDICT
                                                                    AND
14    Lonnie Ray Swartz,                                 REQUEST TO VACATE HEARING
15                           Defendant.
16
17           The United States of America, by and through its undersigned attorneys, states as
18    follows:
19           On November 21, 2018, the jury returned a blank form of verdict on the charge of
20    voluntary manslaughter and a finding of not guilty on the lesser included charge of
21    involuntary manslaughter.
22           The government hereby gives notice that retrial on the voluntary manslaughter count
23    is barred under the Double Jeopardy Clause of the Constitution based on the jury’s verdict
24    of acquittal on the lesser included offense of involuntary manslaughter. See Price v.
25    Georgia, 398 U.S. 323, 331 (1970).
26           Wherefore, the United States of America respectfully submits that the prosecution
27    in this matter has been terminated by the jury’s finding of not guilty on the lesser included
28
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 1    charge of involuntary manslaughter and requests that this Court vacate the status hearing
 2    currently set for December 13, 2018.
 3          The defense has been informed of this notice and request to vacate hearing and has
 4    no objection.
 5          Respectfully submitted this 6th day of December, 2018.
 6
                                               ELIZABETH A. STRANGE
 7                                             First Assistant United States Attorney
                                               District of Arizona
 8
                                               s/Mary Sue Feldmeier
 9
                                               MARY SUE FELDMEIER
10                                             WALLACE H. KLEINDIENST
                                               Assistant U.S. Attorneys
11
12
      Copy of the foregoing served electronically or by
13    other means this 6th day of December, 2018, to:
14    Sean C. Chapman, Esq.
      Jim Calle, Esq.
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